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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


H.T., individually and on behalf
                              )
of a minor, M.H., et al.,     )
                              )
               Plaintiffs,    )
                              )                       Case No. 2:21-cv-3846-PD
          v.                  )
                              )
CENTRAL BUCKS SCHOOL DISTRICT )
                              )
               Defendant.     )
                              )


                           RULE 41 STIPLATION OF DISMISSAL

       Plaintiffs in the above-captioned file this Stipulation of Dismissal pursuant to Rule

41(a)(1)(ii) of the Federal Rules of Civil Procedure. The Parties, by and through undersigned

counsel, hereby stipulate to the dismissal of the matter.

       It is so stipulated this 19th day of January, 2022.



Respectfully Submitted,

/s/Michael D. Raffaele                                /s/Douglas C. Maloney
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                                CERTIFICATE OF SERVICE

       I caused a copy of the foregoing Rule 41 Stipulation of Dismissal to be served on

Defendant’s counsel via the Electronic Case Filing System of the Eastern District of

Pennsylvania this day.



Date: 19 January 2022                               /s/Michael D. Raffaele
